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                                         APPENDIX C
  a. Do you represent any present parties or claimants in this litigation who you have
     represented in any other capacity or in any other court (either currently or within the past
     3 years)?

ANSWER
No.

  b. Do you have any financial interest or financial relationship, including but not limited to as
     an investor, Officer, Director, employee, or contractor, in or with any party or
     client/claimant involved in this MDL (other than a written retainer or engagement
     agreement for a client identified as a client of your firm in appearances in the case)?

ANSWER
No.

  c. Do you have any financial interest (direct or indirect) in any MOVEit claims or lawsuits
     filed or registered by any other counsel in this MDL, other than any co-counsel
     relationships?

ANSWER
No.

  d. To your knowledge, do you have any personal relationship (including but not limited to
     familial, romantic, or financial/business) with any party, client, claimant, counsel, or
     vendor involved in this MDL?

ANSWER
No.

  e. Do you or your firm have any financing that is contingent upon this litigation?

ANSWER
No.

  f. Is there any other relationship or fact that you believe, if known, would present either an
     actual conflict of interest or the appearance of a conflict of interest that you have not already
     disclosed in response to the previous questions?

ANSWER
No.




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